             Case 5:18-cv-00496-FJS-DEP Document 63 Filed 08/31/18 Page 1 of 1



SvTITH                                                                     250 South Clinton Street, Suite 600
                                                                                  Syracuse, New York 13202

S OVIK
  LrlcetoN              AtronNpvs
                                                                                     Telephone
                                                                                     Facsimile
                                                                                                 3I
                                                                                                 3
                                                                                                      5   -47 4-29 I
                                                                                                     I 5-47 4-6015
                                                                                                                       I


                                               August 3I,2018                               Syracuse I Buffølo
Karen G. Felter
Partner
                                                                                   Long Island I White Plains
kfelter@smithsovik.com


VIA ECF

Hon. Frederick J. Scullin
United States District Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7255
Syracuse, NY 13261 -7345

          Re      Doe v. Syracuse UniversitY, et al
                  Civil Action No.: 5:18-CV-00496 IFJS-DEP]

Dear Judge Scullin:

        In addition to apologizing for continued, but necessarily urgent submissions in the above caseo
                                                                                                         I
                                                                                  submitted  by Plaintifß
write to propose a briefing rõn.¿it. for the cross-Motion by order to Show  Cause
today. in coordination liith the briefing schedule currentþ in place for Defendants'pending order
                                                                                                       to
Show Cause returnable September s, iOtg at 10:00am, Dkt. #54,I          suggest the following  deadlines,
subject to the Court's aPProval:

                   1.     Defendants' responsive papers, if àîY, shall be filed by
                          September 4, 2018 at 12:00 pm (which corresponds with
                          Defendants'reply deadline under Dkt. #54); and
                   2.     Plaintiffs' reply papers, if any, shall be filed by September 4,2018
                          at 5:00 pm.

            Thank you for your consideration in this matter'

                                                 Respectfully submitted,




                                                 Karen G. Felter

CC: All counsel of record (VIA CM/ECF)

                                    Smith Sovik Kendrick & Sugnet P.C
  {s08s2lsl.l}
                                           www.smithsovik.com
